                Case 3:16-cr-01483-BGS                     Document 9                Filed 07/08/16              PageID.40          Page 1 of 2

     AO 245I (CASD) (Rev. 12/11) Judgment in a Criminal Petty Case
                Sheet 1



                                              UNITED STATES DISTRICT COURT
                                                   SOUTHERN DISTRICT OF CALIFORNIA
                     UNITED STATES OF AMERICA                                        AMENDED JUDGMENT IN A CRIMINAL CASE
                                         v.                                          (For Offenses Committed On or After November 1, 1987)

                              KURT LESTER (2)                                        Case Number: 16CR1483-BGS
                                                                                     STEPHEN R. COOK
                                                                                     Defendant’s Attorney
     REGISTRATION NO.
          Correction of Sentence for Clerical Mistake (Fed. R. Crim. P.36)
     THE DEFENDANT:
         pleaded guilty to count(s) ONE OF THE MISDEMEANOR INFOMATION

          was found guilty on count(s)
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                              Count
    Title & Section                        Nature of Offense                                                                                Number(s)
8 USC 1324a(a)(2),(f)(1)              Pattern and Practice of Continuing the Unlawful Employment of Aliens                                  1




        The defendant is sentenced as provided in pages 2 through                2          of this judgment.

     The defendant has been found not guilty on count(s)
     Count(s)                                                                         is        are         dismissed on the motion of the United States.
     Assessment: $10.00 Remitted




     No fine                                             Forfeiture pursuant to order filed                                     , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.

                                                                               JUNE 29, 2016
                                                                              Date of Imposition of Sentence




                                                                              HON. BERNARD G. SKOMAL
                                                                              UNITED STATES MAGISTRATE JUDGE
                                                                                                                                               16CR1483-BGS
            Case 3:16-cr-01483-BGS                     Document 9            Filed 07/08/16             PageID.41            Page 2 of 2
AO 245IRev. 12 ) Judgment in a Criminal Petty Case
           Sheet 3 -- Probation
                                                                                                             Judgment—Page        2    of        2
DEFENDANT: KURT LESTER (2)
CASE NUMBER: 16CR1483-BGS
                                                                                      PROBATION
The defendant is hereb y sentenc ed to probation for a term of :
SIX (6) MONTHS UNSUPERVISED

The defendant shall not commit another federal, state, or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. T he de fendant shall sub mit to one drug test within 15 d ays of placem ent on probation and at least two perio dic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless o therwise ordered by court.

G     The abo ve drug testing cond ition is susp ended, based on the court’s determ ination that the defendant po ses a low risk of
      future sub stance abuse. (Check, if ap plicab le.)

G     The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
G
       Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
G     The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
      
       was convicted of a qualifying offense. (Check if applicable.)
G     The defendant shall pa rticipate in an ap proved program for do mestic violence. (Check, if applica ble.)
          If this judgment imposes a fine or restitution obligation, it is a condition of probation that the defendant pay any such fine or
restitution in acco rdance with the Schedule of Payments sheet of this judgment.
        The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall
also comply with the special conditions imposed.

                                      STANDARD CONDITIONS OF SUPERVISION
 1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
 2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
 3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
 4)    the defenda nt shall support his or her d epend ents and me et other family responsibilities;
 5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
       acceptable reasons;
 6)    the defendant shall notify the probation officer at least ten d ays prio r to any change in resid ence or em ploym ent;
 7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
       substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
 8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
 9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
       a felony, unless granted permission to do so by the probation officer;
10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
       any contraband observed in plain view of the probation officer;
11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
       officer;
12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
       permission of the court; and
13)    as directed by the proba tion officer, the defendant shall notify third parties of risks that may be occa sioned by the defendant’s
       criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm
       the defendant’s com pliance with such notification req uirement.



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